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 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
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        SECURITIES AND EXCHANGE                     Case No. 5:20-cv-01493-MCS(SHKx)
12      COMMISSION,
13                  Plaintiff,                      [PROPOSED] FINAL JUDGMENT AS
14                                                  TO DEFENDANTS RICHARD
              vs.                                   PORTILLO, RJ HOLDINGS GROUP,
15                                                  LLC AND CIS MARKETING, LLC
        ANTHONY TODD JOHNSON (aka
16      TODD JOHNSON), et al.,
17                  Defendants.
18
19          The Securities and Exchange Commission having filed a Complaint and
20    Defendants Richard Portillo, RJ Holdings Group, LLC and CIS Marketing, LLC
21    (collectively, “Defendants”) having entered a general appearance; consented to the
22    Court’s jurisdiction over Defendants and the subject matter of this action; consented
23    to entry of this Judgment without admitting or denying the allegations of the
24    Complaint (except as to jurisdiction and except as otherwise provided herein in
25    paragraph VII); waived findings of fact and conclusions of law; and waived any right
26    to appeal from this Judgment:
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 1                                               I.
 2          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendants
 3    are permanently restrained and enjoined from violating, directly or indirectly, Section
 4    10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. §
 5    78j(b)] and Rule 10b-5 promulgated thereunder [17 C.F.R. § 240.10b-5], by using
 6    any means or instrumentality of interstate commerce, or of the mails, or of any
 7    facility of any national securities exchange, in connection with the purchase or sale of
 8    any security:
 9          (a)       to employ any device, scheme, or artifice to defraud;
10          (b)       to make any untrue statement of a material fact or to omit to state a
11                    material fact necessary in order to make the statements made, in the light
12                    of the circumstances under which they were made, not misleading; or
13          (c)       to engage in any act, practice, or course of business which operates or
14                    would operate as a fraud or deceit upon any person.
15          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
16    provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
17    binds the following who receive actual notice of this Judgment by personal service or
18    otherwise: (a) Defendants’ officers, agents, servants, employees, and attorneys; and
19    (b) other persons in active concert or participation with Defendants or with anyone
20    described in (a).
21                                               II.
22          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
23    Defendants are permanently restrained and enjoined from violating Section 17(a) of
24    the Securities Act of 1933 (the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or
25    sale of any security by the use of any means or instruments of transportation or
26    communication in interstate commerce or by use of the mails, directly or indirectly:
27          (a)       to employ any device, scheme, or artifice to defraud;
28          (b)       to obtain money or property by means of any untrue statement of a

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 1                 material fact or any omission of a material fact necessary in order to
 2                 make the statements made, in light of the circumstances under which
 3                 they were made, not misleading; or
 4          (c)    to engage in any transaction, practice, or course of business which
 5                 operates or would operate as a fraud or deceit upon the purchaser.
 6          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
 7    provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
 8    binds the following who receive actual notice of this Judgment by personal service or
 9    otherwise: (a) Defendants’ officers, agents, servants, employees, and attorneys; and
10    (b) other persons in active concert or participation with Defendants or with anyone
11    described in (a).
12                                              III.
13          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
14    Defendants are permanently restrained and enjoined from violating Section 5 of the
15    Securities Act [15 U.S.C. § 77e] by, directly or indirectly, in the absence of any
16    applicable exemption:
17          (a)    Unless a registration statement is in effect as to a security, making use of
18                 any means or instruments of transportation or communication in
19                 interstate commerce or of the mails to sell such security through the use
20                 or medium of any prospectus or otherwise;
21          (b)    Unless a registration statement is in effect as to a security, carrying or
22                 causing to be carried through the mails or in interstate commerce, by any
23                 means or instruments of transportation, any such security for the purpose
24                 of sale or for delivery after sale; or
25          (c)    Making use of any means or instruments of transportation or
26                 communication in interstate commerce or of the mails to offer to sell or
27                 offer to buy through the use or medium of any prospectus or otherwise
28                 any security, unless a registration statement has been filed with the

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 1                 Commission as to such security, or while the registration statement is the
 2                 subject of a refusal order or stop order or (prior to the effective date of
 3                 the registration statement) any public proceeding or examination under
 4                 Section 8 of the Securities Act [15 U.S.C. § 77h].
 5          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
 6    provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
 7    binds the following who receive actual notice of this Judgment by personal service or
 8    otherwise: (a) Defendants’ officers, agents, servants, employees, and attorneys; and
 9    (b) other persons in active concert or participation with Defendants or with anyone
10    described in (a).
11                                             IV.
12          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
13    Defendants Richard Portillo and CIS Marketing, LLC are permanently restrained and
14    enjoined from violating, directly or indirectly, Section 15(a) of the Exchange Act, 15
15    U.S.C. § 78o(a), which makes it unlawful for any broker or dealer which is either a
16    person other than a natural person or a natural person, to make use of the mails or any
17    means or instrumentality of interstate commerce to effect any transactions in, or to
18    induce or attempt to induce the purchase or sale of, any security (other than an
19    exempted security or commercial paper, bankers’ acceptances, or commercial bills)
20    unless such broker or dealer is registered in accordance with Section 15(b) of the
21    Exchange Act, 15 U.S.C. § 78o(b)..
22          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
23    provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
24    binds the following who receive actual notice of this Judgment by personal service or
25    otherwise: (a) Defendants’ officers, agents, servants, employees, and attorneys; and
26    (b) other persons in active concert or participation with Defendants or with anyone
27    described in (a).
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 1                                           V.
 2    IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
 3    Defendants Richard Portillo and CIS Marketing, LLC, jointly and severally, shall
 4    pay disgorgement of $269,375, representing net profits gained as a result of the
 5    conduct alleged in the Complaint, together with prejudgment interest thereon in the
 6    amount of $20,888, for a total of $290,263, which the Court finds is for the benefit
 7    of investors. The Court further imposes a civil penalty against Defendant Richard
 8    Portillo in the amount of $192,768 pursuant to Section 20(d) of the Securities Act
 9    [15 U.S.C. § 77t(d)] and Section 21(d) of the Exchange Act [15 U.S.C. § 78u(d)(3)].
10    Defendants Richard Portillo and CIS Marketing, LLC shall satisfy these obligations
11    by paying for aforementioned sums to the Securities and Exchange Commission
12    with 30 days after entry of this Final Judgment.
13          Defendants may transmit payment electronically to the Commission, which
14    will provide detailed ACH transfer/Fedwire instructions upon request. Payment
15    may also be made directly from a bank account via Pay.gov through the SEC
16    website at http://www.sec.gov/about/offices/ofm.htm. Defendants may also pay by
17    certified check, bank cashier’s check, or United States postal money order payable to
18    the Securities and Exchange Commission, which shall be delivered or mailed to
19          Enterprise Services Center
20          Accounts Receivable Branch
21          6500 South MacArthur Boulevard
22          Oklahoma City, OK 73169
23    and shall be accompanied by a letter identifying the case title, civil action number,
24    and name of this Court; Richard Portillo and CIS Marketing, LLC as a defendant in
25    this action; and specifying that payment is made pursuant to this Final Judgment.
26          Defendants shall simultaneously transmit photocopies of evidence of payment
27    and case identifying information to the Commission’s counsel in this action. By
28    making this payment, Defendants relinquish all legal and equitable right, title, and

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 1    interest in such funds and no part of the funds shall be returned to Defendants.
 2          The Commission may enforce the Court’s judgment for disgorgement and
 3    prejudgment interest by using all collection procedures authorized by law, including,
 4    but not limited to, moving for civil contempt at any time after 30 days following entry
 5    of this Final Judgment. The Commission may enforce the Court’s judgment for
 6    penalties by the use of all collection procedures authorized by law, including the
 7    Federal Debt Collection Procedures Act, 28 U.S.C. § 3001 et seq., and moving for
 8    civil contempt for the violation of any Court orders issued in this action.
 9          Defendants shall pay post judgment interest on any amounts due after 30 days
10    of the entry of this Final Judgment pursuant to 28 U.S.C. § 1961.
11          The Commission shall hold the funds (collectively, the “Fund”) until further
12    order of this Court. The SEC may propose a plan to distribute the Fund subject to the
13    Court’s approval, and the Court shall retain jurisdiction over the administration of
14    any distribution of the Fund.
15          The Commission may propose a plan to distribute the Fund subject to the
16    Court’s approval. Such a plan may provide that the Fund shall be distributed
17    pursuant to the Fair Fund provisions of Section 308(a) of the Sarbanes-Oxley Act of
18    2002. The Court shall retain jurisdiction over the administration of any distribution
19    of the Fund and the Fund may only be disbursed pursuant to an Order of the Court.
20          Regardless of whether any such Fair Fund distribution is made, amounts
21    ordered to be paid as civil penalties pursuant to this Judgment shall be treated as
22    penalties paid to the government for all purposes, including all tax purposes. To
23    preserve the deterrent effect of the civil penalty, Defendant Richard Portillo shall not,
24    after offset or reduction of any award of compensatory damages in any Related
25    Investor Action based on Defendant’s payment of disgorgement in this action, argue
26    that he is entitled to, nor shall he further benefit by, offset or reduction of such
27    compensatory damages award by the amount of any part of Defendant’s payment of a
28    civil penalty in this action (“Penalty Offset”). If the court in any Related Investor

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 1    Action grants such a Penalty Offset, Defendant Richard Portillo, within 30 days after
 2    entry of a final order granting the Penalty Offset, notify the Commission’s counsel in
 3    this action and pay the amount of the Penalty Offset to the United States Treasury or
 4    to a Fair Fund, as the Commission directs. Such a payment shall not be deemed an
 5    additional civil penalty and shall not be deemed to change the amount of the civil
 6    penalty imposed in this Judgment. For purposes of this paragraph, a “Related
 7    Investor Action” means a private damages action brought against Defendant Richard
 8    Portillo by or on behalf of one or more investors based on substantially the same facts
 9    as alleged in the Complaint in this action.
10                                              VI.
11           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the
12    Consent is incorporated herein with the same force and effect as if fully set forth
13    herein, and that Defendants shall comply with all of the undertakings and agreements
14    set forth therein.
15                                              VII.
16           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for
17    purposes of exceptions to discharge set forth in Section 523 of the Bankruptcy Code,
18    11 U.S.C. § 523, the allegations in the complaint are true and admitted by
19    Defendants, and further, any debt for disgorgement, prejudgment interest, civil
20    penalty or other amounts due by Defendants under this Judgment or any other
21    judgment, order, consent order, decree or settlement agreement entered in connection
22    with this proceeding, is a debt for the violation by Defendants of the federal securities
23    laws or any regulation or order issued under such laws, as set forth in Section
24    523(a)(19) of the Bankruptcy Code, 11 U.S.C. §523(a)(19).
25                                              VIII.
26           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court
27    shall retain jurisdiction of this matter for the purposes of enforcing the terms of this
28    Judgment.

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 1                                             IX.
 2          There being no just reason for delay, pursuant to Rule 54(b) of the Federal
 3    Rules of Civil Procedure, the Clerk is ordered to enter this Final Judgment forthwith
 4    and without further notice.
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 6      Dated: January 14, 2021
 7                                                   ________________________________
 8                                                   MARK C. SCARSI
                                                     UNITED STATES DISTRICT JUDGE
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